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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL


Case No.:       CV 18-01469-AB (RAOx)                        Date:   August 10, 2018


Title:     Nicky Rivera et al v. Midway Importing, Inc.


 Present: The Honorable       ANDRÉ BIROTTE JR., United States District Judge
                 Carla Badirian                                 Chia Mei Jui
                 Deputy Clerk                                  Court Reporter

      Attorney(s) Present for Plaintiff(s):        Attorney(s) Present for Defendant(s):
                 Thomas S Alch                                  Amy P Lally
                                                             Rachael A Rezabek

 Proceedings:          SCHEDULING CONFERENCE;
                       DEFENDANT'S MOTION TO DISMISS PLAINTIFFS' FIRST
                       AMENDED COMPLAINT [18]

      The Courtroom Deputy Clerk distributes the Court’s tentative ruling prior to the
case being called.

      The Court having carefully considered the papers and the evidence submitted by
the parties, and having heard the oral argument of counsel, hereby takes the scheduling
conference and motion under submission.




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CV-90 (12/02)                      CIVIL MINUTES - GENERAL             Initials of Deputy Clerk CB
